Case 25-80069-mvl11               Doc 377 Filed 04/22/25 Entered 04/22/25 12:25:02                                      Desc
                                     Main Document Page 1 of 1

  UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

  TEXAS NORTHERN BANKRUPTCY
  PDF FILE WITH AUDIO FILE ATTACHMENT

        25-80069

        Zips Car Wash, LLC

        Part 3 of 3



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        Case Number :                     25-80069
        Case Title :                      Zips Car Wash, LLC
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